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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


    CRAIG BROWN, Pro Se Plaintiff,

          Plaintiff,

    v.                                          Case No. 3:18-cv-1148-J-32MCR

    FIDELITY NATIONAL TITLE
    GROUP, WELLS FARGO BANK,
    AMICA INSURANCE COMPANY,
    PNC BANK, MICHAEL FERRARA,
    TOWN OF CAMDEN, TOWN OF
    ROCKPORT, CITY OF AUSTIN,
    Law Department, THOMAS
    WARREN, and ELLEN GORMAN,

          Defendants.



                                     ORDER

          This case is before the court on Defendant Wells Fargo Bank, N.A.’s

    Motion to Dismiss the Amended Complaint with Prejudice (Doc. 39) and

    Plaintiff Craig Brown’s response in opposition (Doc. 54); Defendant Fidelity

    National Title Group’s Motion to Dismiss the Amended Complaint with

    Prejudice (Doc. 42) and Brown’s response in opposition (Doc. 57); Defendant

    Amica Insurance Company’s Amended Motion to Dismiss the Amended

    Complaint with Prejudice (Doc. 45) and Brown’s response in opposition (Doc.

    60); Defendant Town of Rockport, Maine’s Motion to Dismiss Plaintiff’s
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    Amended Complaint with Prejudice (Doc. 49) and Brown’s response in

    opposition (Doc. 62); Defendant Town of Camden’s Motion to Dismiss All Claims

    (Doc. 51) and Brown’s response in opposition (Doc. 61); Defendants Ellen

    Gorman and Thomas Warren’s Motion to Dismiss (Doc. 55) and Brown’s

    response in opposition (Doc. 63); Defendant City of Austin’s Motion to Dismiss

    Amended Complaint (Doc. 65) and Brown’s response in opposition (Doc. 69); and

    Defendant PNC Bank’s Motion to Dismiss the Amended Complaint with

    Prejudice (Doc. 74) and Brown’s response in opposition (Doc. 83).

          On August 5, 2020, the assigned United States Magistrate Judge issued

    a Report and Recommendation (Doc. 90), recommending that the motions be

    granted in part and denied in part. No party has filed an objection to the Report

    and Recommendation, and the time in which to do so has passed. See 28 U.S.C.

    § 636(b)(1); Fed R. Civ. P. 72(b); M.D. Fla. R. 6.02(a). Upon de novo review of

    the file and for the reasons stated in the Report and Recommendation (Doc. 90),

    it is hereby

          ORDERED:

          1.       The Report and Recommendation of the Magistrate Judge (Doc. 90)

    is ADOPTED as the opinion of the Court.

          2.       Defendants Wells Fargo, Fidelity, Amica, PNC, the Town of

    Rockport, and the Town of Camden’s Motions (Docs. 39, 42, 45, 49, 51, 74) are

    GRANTED to the extent that Plaintiff’s claims against those Defendants are


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    DISMISSED without prejudice for lack of subject matter jurisdiction under

    the Rooker-Feldman doctrine.

            3.   Defendants the Town of Rockport, the Town of Camden, the City of

    Austin, and Justices Gorman and Warren’s Motions (Docs. 49, 51, 55, 65) are

    GRANTED to the extent that Plaintiff’s claims are DISMISSED without

    prejudice for lack of personal jurisdiction.

            4.   While Defendants’ various requests for injunctive relief or

    sanctions against Plaintiff, a vexatious litigant, have some force, the Court

    declines to prolong the litigation and DENIES the requested relief.

            5.   The Clerk is directed to terminate any remaining pending motions

    and deadlines, dismiss the action without prejudice, enter judgment in favor of

    Defendants and against Plaintiff, and close the file.

            DONE AND ORDERED in Jacksonville, Florida the 31st day of August,

    2020.




                                                     TIMOTHY J. CORRIGAN
                                                     United States District Judge

    tnm
    Copies:

    Honorable Monte C. Richardson
    United States Magistrate Judge




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    Craig Brown
    36 Stonehurst Drive
    Camden, ME 04843




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